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                                                                            U.S. DISTRICT COURT
                                                                           DISTRICT OF VERMONT
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                           UNITED STATES DISTRICT COURT
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                               DISTRICT OF VERMONT
                                                                                   CLERK

ALICE H. ALLEN, LAURANCE E. ALLEN,                          )
                                                                            BY   OEP~ERK
d/b/a Al-Iens Farm, GARRET SITTS, RALPH                     )
SITTS, JONATHAN HAAR, CLAUDIA HAAR,                         )
RICHARD SWANTAK, PETER SOUTHWAY,                            )
MARILYN SOUTHWAY, REYNARD HUNT,                             )
ROBERT FULPER, STEPHEN H. TAYLOR,                           )
and DARREL J. AUBERTINE, on behalf of                       )
themselves and all others similarly situated,               )
                                                            )
                      Plaintiffs,                           )
                                                            )
               v.                                           )   Case No. 5:09-cv-230
                                                            )
DAIRY FARMERS OF AMERICA, INC. and                          )
DAIRY MARKETING SERVICES, LLC,                              )
                                                            )
                      Defendants.                           )

                       OPINION AND ORDER GRANTING
                      MOTION FOR FINAL APPROVAL OF
                    DECEMBER 2015 PROPOSED SETTLEMENT
                                 (Doc. 2076)
       Pending before the court is a motion for final approval of a proposed settlement
(the "December 2015 Proposed Settlement") between Defendants Dairy Farmers of
America, Inc. ("DF A") and Dairy Marketing Services, LLC ("DMS") and the DF A/DMS
and non-DF A/DMS subclasses (collectively, "Plaintiffs" or the "Dairy Farmers Class").
(Doc. 2076.) 1 The Dairy Farmers Class is comprised of dairy farmers who produced and
sold raw Grade A milk in Federal Milk Market Order 1 ("Order 1") between January 1,
2002 to the present. Defendant DF A is a dairy cooperative that produces, processes, and
distributes raw Grade A milk. Defendant DMS is a milk-marketing agency that was

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 The pending motion also requests that the court allocate a portion of the settlement fund for
distribution to Rust Consulting for administrative costs. See Doc. 2076-1 at 48-51. The court
will address this issue in a separate Order.
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formed in 1999 by DF A and Dairylea Cooperative, Inc. ("Dairylea") and is currently
owned by DFA, Dairylea, and St. Albans Cooperative Creamery, Inc. ("St. Albans Co-
op").
          On May 13, 2016, the court held a Fairness Hearing, at which thirty-five class
members or their designees appeared and addressed the court regarding whether the
December 2015 Proposed Settlement is fair, reasonable, and adequate as required by Fed.
R. Civ. P. 23(e)(2). The court also heard oral argument from the parties' attorneys, all of
whom support the settlement.
        A total of 8,859 farms were provided court-approved notice of the December 2015
Proposed Settlement. Approximately 7,5 51 farms (85% of those notified) submitted
claims.
        Prior to the Fairness Hearing, the court received and reviewed approximately
1,400 letters regarding the December 2015 Proposed Settlement. Approximately 90% of
those letters were in favor of the settlement and approximately 10% opposed it.
Members of the Dairy Farmers Class were permitted to opt out of the December 2015
Proposed Settlement to initiate or continue litigation against DF A and DMS, and
approximately 172 farms (1.9% ofthe Dairy Farmers Class) did so. The ability to opt out
was not offered in any of the parties' previous settlement proposals.
        Dairy Farmers Class Representatives Alice H. Allen, Laurance E. Allen, Peter
Southway, Marilyn Southway, Reynard Hunt, Robert Fulper, Stephen H. Taylor, and
Darrel J. Aubertine support the December 2015 Proposed Settlement ("Supporting Class
Representatives"). Class Representatives Jonathan and Claudia Haar oppose it
("Opposing Class Representatives"). Class Representatives Garrett Sitts, Ralph Sitts, and
Richard Swantak have opted out of the December 2015 Proposed Settlement ("Opting
Out Class Representatives").
I.      The December 2015 Proposed Settlement.
        A.      Terms of the December 2015 Proposed Settlement.
        Pursuant to the December 2015 Proposed Settlement, without an admission of
wrongdoing, Defendants have agreed to pay $50 million dollars to the Dairy Farmers


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Class in exchange for a release of the claims asserted in this action as well as claims
"arising out of the conduct alleged in the Complaint" as to specified released parties. 2
(Doc. 2076-2 at 5, ~ 1.16.) Defendants have agreed to non-retaliation safeguards for the
Dairy Farmers Class; specific protocols to increase class members' ability to leave
DF A/DMS without penalty; the provision of a milk marketing grace period in the event a
dairy farm is terminated from DF A/DMS; disclosure of certain financial information; and
a prohibition of non-solicitation agreements, which allegedly prevented class members
from freely leaving their cooperatives and joining competing cooperatives.
       In addition to the injunctive relief set forth in previous proposed settlements, the
December 2015 Proposed Settlement includes the following:
       The extension of the prohibition on the formation or renewal of full supply
       agreements, except in certain circumstances, for a four-year period
       following final approval of the December 2015 Proposed Settlement by the
       court;
       The establishment and funding of an independent Advisory Council
       Member for four years to review DF A/DMS financial records, serve as an
       advocate within DF A for higher pay prices and farmer equity, and attend
       and participate in DF A Northeast Area Council Meetings as a non-voting
       member;
       The establishment and funding of a Farmer Ombudsperson for five years to
       investigate and facilitate resolution of any complaints-including
       complaints related to testing, voting rights, or termination from
       DFA/DMS-and attend and participate in DF A Northeast Area Council
       Meetings;
       The imposition of certain protocols regarding milk testing for five years,
       including a mechanism that allows farmers to obtain "split samples" and
       secure testing at independent labs up to three times per year at no cost to
       the farmer, the annual receipt by the Farmer Ombudsperson of a report
       from the Market Administrator regarding the results of its independent
       testing of the Dairy One laboratory, and standards regarding the reporting
       of adulterated milk testing results for five years;

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  In late 2010, Plaintiffs and former Defendant Dean Foods Company ("Dean") reached a
settlement agreement (the "Dean Settlement") that required Dean to make a one-time payment of
$30 million. Plaintiffs agreed to release and discharge Dean from certain claims and potential
claims. The court approved the Dean Settlement and the certified settlement class received the
proceeds of the settlement, minus attorneys' fees and expenses of $6 million.


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       The prohibition on DF A/DMS from obtaining a controlling interest in the
       Dairy One milk testing organization for ten years and the prohibition on
       DFA members from holding a majority of seats on Dairy One's board;
       The imposition of limitations on DF A's use of block voting in connection
       with voting on Federal Milk Market Order 1 amendments, as well as the
       preservation of the right to vote individually; and
       The formation of an Audit Committee consisting of seven DF A members
       plus two independent advisors with expertise in accounting, financial
       reporting, and auditing to monitor compliance with the December 2015
       Proposed Settlement and to report to the delegates at the DF A annual
       meeting.
       B.     Reaction of Governmental Agencies and Others.
       Consistent with the Class Action Fairness Act of 2005 ("CAF A"), Pub. L. No.
109-2, 119 Stat. 4 (2005), notice of the December 2015 Proposed Settlement was
provided to officials at the Justice Department and each Attorneys General office located
in Order 1. Only the Vermont Attorney General's Office responded to the notice. In its
written submission to the court, the Vermont Attorney General's Office stated that it
supported the settlement, noting that it was:
       impressed by the extensive injunctive relief that the settlement obtains for
       the class members. The behavioral remedies go directly to the conduct
       alleged in the matter[.] ... The injunctive relief appears to be on par with
       the sort of relief that our office would seek in a matter like this. In light of
       these considerations, we hope that the Court will approve this settlement.
(Doc. 832 at 1-2.)
       Two groups of legislators in Order 1 also provided written support for the
December 2015 Proposed Settlement. Vermont Senators Robert Starr, Chair of the
Committee on Agriculture, and Jane Kitchel, Chair of the Committee on Appropriations,
support approval of the settlement, emphasizing the increased transparency it affords with
regard to DFA/DMS's operations and the benefits dairy farmers will derive from
independent milk testing and the appointment of an ombudsperson. Robert Haefner, John
O'Connor, and Tara Sad, the Chairman, Vice Chairman, and ranking member,
respectively, of the New Hampshire House of Representatives Environment and
Agriculture Committee, also expressed their "strong support of the proposed


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settlement[.]" (Doc. 2023 at 1.)
II.    Conclusions of Law and Analysis.
       Under Rule 23, a court may approve a settlement in a class action only after
finding that it is "fair, reasonable, and adequate." Fed. R. Civ. P. 23(e)(2); see also
D 'Amato v. Deutsche Bank, 236 F .3d 78, 85 (2d Cir. 2001 ). This entails a review of "the
negotiating process leading up to the settlement[, i.e., procedural fairness,] as well as the
settlement's substantive terms[, i.e., substantive fairness]." McReynolds v. Richards-
Cantave, 588 F.3d 790, 803-04 (2d Cir. 2009) (alterations in original and internal
quotation marks omitted).
       A.      Procedural Fairness.
       "The court must review the negotiating process leading up to the settlement for
procedural fairness, to ensure that the settlement resulted from an arm's-length, good
faith negotiation between experienced and skilled litigators." Charron v. Wiener, 731
F.3d 241, 247 (2d Cir. 2013), cert. denied, 134 S. Ct. 1941 (2014). The court "must pay
close attention to" and "examine[] the negotiation process with appropriate scrutiny."
D'Amato, 236 F.3d at 85. The court must also bear in mind its own "fiduciary
responsibility of ensuring that the settlement is fair and not a product of collusion, and
that the class members' interests were represented adequately." In re Warner Commc 'ns
Sec. Litig., 798 F.2d 35, 37 (2d Cir. 1986).
       In this case, counsel for both parties and Supporting Class Representatives assert
that the negotiation process took place in an arms-length manner and in good faith. They
further assert that the class representatives participated in in-person, telephonic, and
email discussions as part of these negotiations, as detailed in Subclass Counsel's
submissions.
       Although they acknowledge that Supporting Class Representatives have engaged
in no wrongdoing and have participated in the negotiation of the December 2015
Settlement Proposal in good faith, Opposing Class Representatives nonetheless contend
that the December 2015 Proposed Settlement is the product of collusion, coercion, and
bad faith. They claim certain members of Subclass Counsel have engaged with


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Defendants in a sham settlement, are guilty of professional misconduct, and have coerced
support from the class. Counsel for both parties and Supporting Class Representatives
disavow this characterization of the settlement process.
       On April20, 2015 and June 1, 2015, the court held a two-day evidentiary hearing
at which Opposing Class Representatives and Opting Out Class Representatives were
permitted to present their evidence of collusion, coercion, and bad faith. No such
evidence was presented. Rather, it became clear that there were differences of opinion
between Subclass Counsel and certain class representatives regarding how the case
should be litigated, whether it should be settled or proceed to trial, and, if settled, the
appropriate nature and extent of injunctive relief. It further became clear that
communication had broken down between certain class representatives and certain
Subclass Counsel to such an extent that no meaningful settlement or trial preparation
discussions were possible. These circumstances were contrary to the interests of the class
as a whole. See Doc. 682 at 8 (noting that because of a breakdown in communications,
"the opposing Subclass Representatives and Subclass Counsel [were] failing to present a
united front on behalf of the Dairy Farmer[s] [Class] and, in this respect, [were]
undermining the interests of absent class members[,]" and that, "[a]s the case progresses
towards either trial or to a final settlement, the stalemate and the lack of communication
between Subclass Counsel and all but two of the Subclass Representatives [was] and will
continue to be unacceptable"). 3
       On September 3, 2015, Defendants moved to decertify the class for lack of
adequate representation. See Fed. R. Civ. P. 23(a)(4), 23(c)(1)(C). Defendants argued
that the appointed class representatives were "committed to the effective destruction of

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  See Martens v. Thomann, 273 F.3d 159, 173 n.IO (2d Cir. 2001) (noting that class
representatives "have fiduciary duties towards the other members of the class"); Deposit Guar.
Nat'l Bank, Jackson, Miss. v. Roper, 445 U.S. 326,331 (1980) (recognizing "the responsibility
of named plaintiffs to represent the collective interests of the putative class"); Maywalt v. Parker
& Parsley Petroleum Co., 67 F .3d 1072, 1077 (2d Cir. 1995) ("Both class representatives and
class counsel have responsibilities to absent members of the class."); see also McDowall v.
Cogan, 216 F.R.D. 46, 49 n.3 (E.D.N.Y. 2003) ("A named plaintiff acts as a fiduciary to the
unnamed class members.").


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DF A and DMS as functioning dairy marketing organizations," which was antithetical to
the interests of other class members "who belong to DF A or market through DMS, who
greatly value the continued existence and functioning of those organizations, and who
very much do not want to see them disbanded[.]" (Doc. 692-1 at 2-3.)
       On September 24, 2015, Subclass Counsel sought to remove certain class
representatives, asserting they were unable to communicate and work with their counsel;
failed to objectively evaluate the case; refused to abide by the court's rulings; and were
"prepared to take actions that [would] prejudice the interests of the Subclass ... without
any meaningful consultation about the implications under prevailing antitrust and class
action law." (Doc. 701-1 at 4.) In tum, Opposing Class Representatives and Opting Out
Class Representatives renewed their motion to remove Subclass Counsel. Neither
Subclass Counsel nor Opposing and Opting Out Class Representatives proffered any
resolution to their stalemate other than the other group's removal.
       The court denied Defendants' motion to decertify as moot, and denied on the
merits Subclass Counsel's motion to remove certain class representatives and the motion
to remove Subclass Counsel. In so ruling, the court noted that as long as the breakdown
in communication on Plaintiffs' side of the case persisted, no meaningful settlement
negotiations or trial preparation could take place. In an attempt to remedy this stagnation
and to ensure adequate representation of the class, the court appointed additional class
representatives and additional class counsel. See In re Austrian & German Bank
Holocaust Litig., 317 F.3d 91, 104 (2d Cir. 2003) ('"The ultimate responsibility to ensure
that the interests of class members are not subordinated to the interests of either the class
representatives or class counsel rests with the district court."') (quoting Maywalt v.
Parker & Parsley Petroleum Co., 67 F.3d 1072, 1078 (2d Cir. 1995)). Thereafter, the
parties negotiated during a 90-day period that culminated in the December 20 15 Proposed
Settlement.
       There is no credible evidence that the process by which the December 2015
Proposed Settlement was reached was tainted by collusion, coercion, or bad faith.
Instead, the negotiations took place at arms-length and in good faith between experienced


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antitrust litigators who were knowledgeable about the facts and the law, the realities of
the marketplace, and the risks and challenges of a trial. The evidence thus establishes
that the December 2015 Proposed Settlement is procedurally fair, reasonable, and
adequate. See Fed. R. Civ. P. 23(e)(2).
       B.     Substantive Fairness.
       In the Second Circuit, a court is directed to "examine the fairness, adequacy, and
reasonableness of a class settlement according to the 'Grinnell factors."' Wal-Mart
Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 117 (2d Cir. 2005) (quoting Joel A. v.
Giuliani, 218 F.3d 132, 138 (2d Cir. 2000)). The Grinnell factors require examination of:
       (1)    the complexity, expense and likely duration of the litigation;
       (2)    the reaction of the class to the settlement;
       (3)    the stage of the proceedings and the amount of discovery completed;
       (4)    the risks of establishing liability;
       (5)    the risks of establishing damages;
       (6)    the risks of maintaining the class action through the trial;
       (7)    the ability of the defendants to withstand a greater judgment;
       (8)    the range of reasonableness of the settlement fund in light of the best
              possible recovery; [and]
       (9)    the range of reasonableness of the settlement fund to a possible
              recovery in light of all the attendant risks of litigation.
Wal-Mart Stores, Inc., 396 F.3d at 117 (quoting City of Detroit v. Grinnell Corp., 495
F.2d 448, 463 (2d Cir. 1974)).
       The complexity, expense, and likely duration of the litigation weigh heavily in
favor of approving the December 2015 Proposed Settlement. This case has been pending
since 2009 and has presented costly, complex, and protracted litigation for both sides.
Any trial would be a substantial additional expense and a time consuming process, which
would be exacerbated by the fact that neither party is presently engaged in trial
preparations. See In re NASDAQ Mkt.-Makers Antitrust Litig., 187 F.R.D. 465, 477
(S.D.N.Y. 1998) (noting that antitrust cases are "generally complex, expensive and
lengthy" and that antitrust class actions in particular "have a well deserved reputation as




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being most complex") (internal quotation marks omitted). 4 Regardless of the outcome at
trial, this court's rulings and the jury's verdict would almost inevitably be the subject of
one or more lengthy appeals. 5
       Participation of the class in the December 20 15 Proposed Settlement has been
robust and far exceeds the participation in previous proposed settlements in this case.
The reaction of the class has been overwhelmingly positive. See Wal-Mart Stores, Inc.,
396 F .3d at 119 (concluding that the reaction of class members to the settlement "is
perhaps the most significant factor in [the] Grinnell inquiry"); see also In reAm. Bank
Note Holographies, Inc., 127 F. Supp. 2d 418, 425 (S.D.N.Y. 2001) (noting that "[i]t is
well settled that the reaction of the class to the settlement is perhaps the most significant
factor to be weighed in considering its adequacy") (internal quotation marks omitted).
       The stage of the proceedings and the amount of discovery completed also weigh in
favor of approval. There is an ample factual record in this case which permits the parties
to have "a thorough understanding of their case." Wal-Mart Stores, Inc., 396 F.3d at 118
(also noting settlement was reached after "extensive discovery proceedings spanning over
seven years[,] ... leaving relatively few unknowns prior to trial"). No additional
discovery is contemplated, nor would it likely alter the risks and benefits of going to trial.
The court has already ruled on Defendants' motion for summary judgment, winnowing
the claims for trial and identifying those issues that hinge on witness testimony. This is
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 To the extent objecting class members insist that only a trial will vindicate their claims against
DFA/DMS, they may opt out ofthe settlement.
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  See Wal-Mart Stores, Inc. v. Visa US.A., Inc., 396 F.3d 96, 118 (2d Cir. 2005) (observing that
the appellate process could take "several years"); In re MetLife Demutualization Litig., 689 F.
Supp. 2d 297,331-32 (E.D.N.Y. 2010) (noting that the "complexity, expense, and likely duration
of the litigation favor the proposed Settlement" because "[r]egardless of the outcome at trial,
post-trial motions and an appeal by the losing party were likely, possibly followed by a new trial
in the event of a reversal[,] ... [and] [d]elay at the trial stage and through post-trial motions and
the appellate process might have forced class members to wait years longer for any recovery");
In re Marsh ERISA Litig., 265 F.R.D. 128, 138 (S.D.N.Y. 2010) (explaining that "even ifthe
Class were to win a judgment at trial, the additional delay of trial, post-trial motions and appeals
could deny the Class any actual recovery for years"); In re EVCI Career Colis. Holding Corp.
Sec. Litig., 2007 WL 2230177, at *5 (S.D.N.Y. July 27, 2007) (approving settlement where
"there would have been significant additional resources and costs expended to prosecute the
claims through trial and the inevitable appeals").


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thus not a case that has been settled prematurely or without an adequate understanding of
the value of Plaintiffs' claims and the extent of Defendants' litigation risk.
       The risks to the class of establishing liability and damages also weigh in favor of
approving the December 20 15 Proposed Settlement. If this matter proceeded to trial,
Plaintiffs would face substantial challenges in establishing a factually and legally
sustainable market definition, Defendants' market power, the economic motive for the
alleged conspiracy, and the participation of a wide array of co-conspirators at the
cooperative and processor levels. Defendants' statute of limitations defenses, alone, may
have precluded many of Plaintiffs' claims and a significant portion of Plaintiffs' claimed
damages.
       As the numerous written responses to the settlement make clear, Plaintiffs would
face the additional challenge of persuading a Vermont jury that this case involves dairy
farmers against wealthy corporate entities, as opposed to dairy farmers against dairy
farmers. At trial, Plaintiffs may have to confront evidence from the many dairy farmers
who spoke at the Fairness Hearing and who view DF A/DMS as transparent and helpful
.partners that assist them in finding the most advantageous market and best price for their
fluid Grade A milk.
       In addition, if this case proceeded to trial, Defendants would likely renew their
motion to decertify the class, arguing that the interests of dairy farmers who supported
DF A/DMS were unrepresented by Subclass Counsel and the Dairy Farmers Class
representatives. In opposing this motion, there is a distinct likelihood that Plaintiffs
would either not present a united front, or would have difficulty demonstrating that they
are adequately representing pro-DFA/DMS dairy farmers' interests. The risks of
maintaining the class through trial thus support a negotiated resolution.
       The ability of Defendants to withstand a greater judgment appears uncontested.
This factor, however, "does not suggest that the settlement is unfair" when it "stand[ s]
alone" against the settlement and the remaining factors weigh in favor of the settlement.
D'Amato, 236 F.3d at 86; see also In re Paine Webber Ltd. P'ships Litig., 171 F.R.D. 104,
129 (S.D.N.Y. 1997) ("[T]he fact that a defendant is able to pay more than it offers in


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settlement does not, standing alone, indicate that the settlement is unreasonable or
inadequate."), aff'd, 117 F.3d 721 (2d Cir. 1997).
       The reasonableness of the settlement fund, in light of the best possible recovery
and the attendant risks of litigation, also weighs in favor of approving the December 20 15
Proposed Settlement. The settlement's $50 million in monetary relief will offer class
members a modest recovery, predominantly because of the size of the class. 6 However, a
total recovery against DF A/DMS and Dean of $80 million is not insubstantial when
viewed against the backdrop of the risks of continued litigation. The injunctive relief
offered by the December 20 15 Proposed Settlement is more extensive than Plaintiffs
request in the Second Amended Complaint, and thus more extensive than the court would
likely order if Plaintiffs prevailed at trial.
       Collectively, the Grinnell factors weigh in favor of approving the December 2015
Proposed Settlement. See Weinberger v. Kendrick, 698 F.2d 61, 69 n.lO (2d Cir. 1982)
(directing that a district court "passing on settlements of class actions under [Rule 23]" is
not "an umpire in [a] typical adversary litigation" but rather "a guardian for class
members"); see also Neilson v. Colgate-Palmolive Co., 199 F.3d 642, 654 (2d Cir. 1999)
(emphasizing that "the district court bears the ultimate responsibility for ensuring that the
interests of vulnerable class members are vindicated") (internal quotation marks omitted).
The court thus finds that the December 2015 Proposed Settlement is substantively fair,
reasonable, and adequate. Fed. R. Civ. P. 23(e)(2). To ensure the parties' compliance
with the terms of the December 2015 Proposed Settlement, the court retains jurisdiction
over its enforcement.




6
  It is estimated that the average recovery will be $4,000 per dairy farm class member, however,
the court's determination of Subclass Counsel's motions for attorneys' fees, reimbursement of
expenses, and incentive awards (Docs. 728 & 729) will affect this amount.

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                                    CONCLUSION
      For the foregoing reasons, the motion for final approval of the December 2015
Proposed Settlement is GRANTED. (Doc. 2076.)
SO ORDERED.
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      Dated at Burlington, in the District of Vermont, this   7   day of June, 2016.




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                                                United States District Court




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